    Case 2:18-cv-07378-WBV-MBN Document 238 Filed 03/02/23 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

KEITH BABIN, ET AL.                                         CIVIL ACTION

VERSUS                                                      NO. 18-7378

PLAQUEMINES PARISH                                          SECTION: D (5)

                                FINAL JUDGMENT

      In accordance with the Court’s December 8, 2022 Order granting Plaintiffs’

Renewed Motion for Judgment as a Matter of Law (R. Doc. 227), the Joint Status

Report filed by the parties on February 1, 2023 (R. Doc. 236), and the Court’s March 2,

2023 Order granting Plaintiffs’ Motion for Liquidated Damages (R. Doc. 237);

      IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in

favor of Plaintiff Keith Babin and against Defendant Plaquemines Parish in the

amount of $101,121.54, plus post-judgment interest at the rate of 5.06% per annum.

This amount includes $50,560.77 in unpaid overtime wages and $50,560.77 in

liquidated damages.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that there be

judgment in favor of Plaintiff Kevin Burge and against Defendant Plaquemines

Parish in the amount of $109,248.80, plus post-judgment interest at the rate of 5.06%

per annum. This amount includes $54,624.40 in unpaid overtime wages and

$54,624.40 in liquidated damages.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that there be

judgment in favor of Plaintiff Joshua Dismukes and against Defendant

Plaquemines Parish in the amount of $268,443.36, plus post-judgment interest at the
    Case 2:18-cv-07378-WBV-MBN Document 238 Filed 03/02/23 Page 2 of 2




rate of 5.06% per annum. This amount includes $134,221.68 in unpaid overtime

wages and $134,221.68 in liquidated damages.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that there be

judgment in favor of Plaintiff Barbara Tate and against Defendant Plaquemines

Parish in the amount of $62,130.42, plus post-judgment interest at the rate of 5.06%

per annum. This amount includes $31,065.21 in unpaid overtime wages and

$31,065.21 in liquidated damages.

      New Orleans, Louisiana, March 2, 2023.



                                      ______________________________
                                      WENDY B. VITTER
                                      United States District Judge
